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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                         CAMDEN VICINAGE

IN RE: VALSARTAN, LOSARTAN,                    MDL No. 2875
AND IRBESARTAN PRODUCTS
LIABILITY LITIGATION                           Honorable Robert B. Kugler,
                                               District Court Judge

This Document Relates to All Actions           Oral Argument Requested



WHOLESALER DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT
       OF RULE 53 OBJECTION TO AND MOTION FOR
     CLARIFICATION OF SPECIAL MASTER ORDER NO. 64

      On behalf of Wholesaler Defendants (“Wholesalers”) in the In Re: Valsartan,

Losartan, and Irbesartan Products Liability Litigation, and pursuant to Federal Rule

of Civil Procedure 53(f)(2), undersigned Wholesaler Defendants’ Counsel

respectfully submit this Objection to and Motion for Clarification of Special Master

Order No. 64 (“SMO 64” or “the Order”). To be clear, Wholesalers remain agreeable

to supplementing the information they have previously provided regarding

indemnity agreements, and attempting to resolve any disputes about that

supplementation through the meet and confer process. Wholesalers believe,

however, that Plaintiffs will seek to use SMO 64 to require more than

supplementation, and thus now seek clarification regarding the requirements of
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SMO 64. In particular, Wholesalers seek clarification that SMO 64 does not require

responses to Plaintiffs’ new requests for production of information regarding defense

and indemnification issues that far exceed the scope of Plaintiffs’ prior negotiated

and approved discovery requests. These new requests were not negotiated or

approved by the parties or the Court and may be subject to proper objections on

relevance and privilege grounds.

      To the extent that SMO 64 is read to impose a mandate to require that

Wholesalers “disclose” certain information that has not previously been requested

by Plaintiffs, has not been the subject of the meet and confer process, is not relevant

to the instant litigation, is subject to the common interest or other privilege, and on

which Wholesalers have not had the opportunity to be heard, Wholesalers object as

set forth below to avoid an unjust result.

I.    PROCEDURAL HISTORY

      On January 28, 2022 and March 17, 2022, months after the October 4, 2021

close of discovery in this matter (Dkt. No. 863), Plaintiffs requested additional

information about the particulars of Wholesalers’ defense and indemnification

arrangements. See Dkt. 2042-2, Plaintiffs’ January 28, 2022 email to Jeff

Geoppinger; Dkt. 2007-1, Plaintiffs’ March 17, 2022 Letter to Seth Goldberg. In

March, counsel for Plaintiffs, Mr. George Williamson, sent a letter to Defendants’

then liaison counsel, Mr. Seth Goldberg, seeking information about the existence

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and status of agreements among and between Defendants regarding defense and

indemnification issues. Dkt. 2007-1. While some information requested in Plaintiffs’

letter, such as indemnification agreements, was the subject of discovery previously

served on or obtained from certain Defendants, other requests were not. For

example, Plaintiffs’ letter for the first time requested that Wholesalers “disclose”

whether any entity “has undertaken your defense [in this litigation] or reimbursed

your costs of defense, and where reimbursements made, state the amount.” Id. That

request for the amount of defense costs reimbursed, as well as other requests

enumerated in Plaintiffs’ March 17, 2022 letter—for example, any disputes with

regard to defense and/or indemnification—were never the subject of any prior

discovery requests served on the Wholesalers, all of which were extensively

negotiated between the parties before being approved by the Court. Consequently,

Wholesalers never had an opportunity to object to the new requests included in the

March 17, 2022 letter, including on critical relevance and common interest privilege

grounds, because they were never heard by the Court on the non-existent requests

(or objections). Even more significantly, the Court was never given the opportunity

to rule on the propriety of many of the types of requests in Plaintiffs’ March 17, 2022

letter or any objections by Wholesalers thereto.

      On April 12, 2022, Plaintiffs served their agenda letter for the April 13, 2022

bi-weekly status conference with all liaison counsel. It included only one topic:

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“Status of Indemnification Meet and Confers,” and Plaintiffs’ agenda letter

specifically requested that the Court mandate “all defendants be required to meet

and confer on the issues raised in Plaintiffs’ March 17, 2022 letter.” Dkt. No. 2006.

      On April 13, 2022, the Court held the routine bi-weekly status conference with

liaison counsel for Plaintiffs and liaison counsel for Defendants—not with other

defense counsel. As per the Court’s prior directives and custom, counsel for all

Defendants are not to attend the bi-weekly status conferences. At the limited

attendance status conference, Plaintiffs’ counsel asked the Court to set a deadline of

April 30, 2022, for all Defendants to meet and confer with Plaintiffs’ counsel about

the requests in the March 17, 2022, letter. See Transcript of April 13, 2022 Status

Conference, p. 4, Ex. A. The Court agreed to enter such an order over Defendants’

objections, including that a simple requirement of a meet and confer did not warrant

a full order. Id., pp. 5-9. Plaintiffs’ counsel was directed to submit a proposed order

“reflecting the fact that the meet and confer on these agreements is to be completed.”

Id., pp. 9-10.

      The next day, on April 14, 2022, Plaintiffs’ counsel submitted a letter and a

proposed Special Master Order (“proposed SMO”) to Judge Vanaskie that went

much further than Plaintiffs’ original agenda letter, much further than argument at

the status conference, and much further than representations to the Court about the

order being submitted. Dkt. No. 2014. Plaintiffs’ counsel did not seek Defendants’

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counsel’s approval or agreement to the proposed SMO prior to submission to Judge

Vanaskie. In fact, Plaintiffs’ counsel did not even share the proposed SMO with

Defendants’ counsel prior to submission.

      Plaintiffs’ counsel’s April 14, 2022 cover letter stated that the proposed SMO

was submitted “as directed at the April 13, 2022 status hearing.” Dkt. No. 2014.

However, it is undisputed that Plaintiffs’ proposed SMO went well beyond what was

discussed, decided, and directed at the April 13, 2022, status conference. The

proposed SMO first orders a deadline of April 30, 2022, for the parties to meet and

confer “regarding the existence and status of any agreements, written or oral, to

defend and/or indemnify, and any dispute, litigation, mediation, or arbitration

between Defendants, related to contaminated valsartan including the claims in this

litigation”—a listing of topics that includes information not previously agreed to in

discovery, and would potentially include information about communications

regarding defense and indemnification “disputes” and “status.” Id. Though not

stated, presumably any disputes at the conclusion of the meet and confer process

would be presented to the Court, including those of timeliness, relevance, and

privilege. Plaintiffs’ proposed SMO went even further, however, and also included

a completely inappropriate substantive mandate that potentially turned an order to

meet and confer into an order to “disclose” substantive privileged information:

      Defendants shall disclose to Plaintiffs any change in the status quo of
      such agreements, disputes, litigation, mediation, or arbitration; new
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      demands to defend or indemnify; establishment of any new agreements;
      or any new dispute, litigation, mediation, or arbitration, without the
      need for Plaintiffs to make any further request.” Id.

      No such mandate to disclose information or produce materials was discussed,

requested, or ruled upon at the April 13, 2022 status conference, which as noted, was

not attended by all Defendants. As such, Wholesalers were not provided with the

requisite opportunity to address in any fashion the scope, propriety, and grounds for

objection of the disclosures mandated by Plaintiffs’ proposed SMO.

      Fifty minutes after Plaintiffs’ counsel’s ex parte submission of the proposed

SMO, Defendants’ counsel emailed the Court and expressed Defendants’ objection

to the entry of the proposed SMO based on concerns about the scope. See Email

from Jason Reefer, Esq. to Hon. Thomas Vanaskie (Ret.) dated April 14, 2022, Ex.

B. The Court responded to Defendants’ counsel’s correspondence and

acknowledged Defendants’ objections. See Email from Hon. Thomas Vanaskie

(Ret.) to Jason Reefer, Esq. dated April 14, 2022, Ex. C. The Court also confirmed

that Plaintiffs’ proposed SMO, which included a new mandate for certain disclosures

by all Defendants, went beyond that which was discussed—and therefore, beyond

which was ruled on—at the status conference. Id. Nevertheless, the Court entered

Plaintiffs’ proposed SMO, with just one modification regarding the filing of a status

report. Dkt. No. 2015. The Court stated that the rationale for entering Plaintiffs’

proposed SMO—despite the fact it was submitted without consultation and exceeded

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what was discussed at the status conference—was the belief that “it is appropriate to

impose a duty of supplementation as requested by Plaintiffs” as parties have a duty

to supplement prior discovery responses pursuant to Fed. R. Civ. P. 26(e). Id. The

Court’s explanation for entry of SMO 64 suggested that it understood the Order to

only require that which the Rules already require: supplementation of prior

information produced in discovery in response to proper discovery requests.

      Unfortunately, Plaintiffs have already shown that they will advocate for a

reading of SMO 64 much broader than mere supplementation in an effort to get the

Court to order the very discovery that has not even been discussed by the parties and

for which Defendants have sound objections, including privilege. Plaintiffs’ May 3,

2022 Report to the Court (Dkt. No. 2042) contains a list of the information sought

by Plaintiffs and notes that it has been requested “since at least January 28, 2022”—

still, more than three months after the close of discovery. Plaintiffs also complain

that Wholesalers “refused to provide information about defense [ ] agreements,”

despite the fact that defense agreements have never been the subject of a properly-

served discovery request to Wholesalers, are not relevant to the claims in the

litigation, and are arguably protected by privilege. Id. Moreover, Plaintiffs seek the

dollar amounts of reimbursed defense costs and payments Wholesalers have

received or paid as a result of indemnification obligations—a request which is

indisputably absent from Plaintiffs’ prior discovery requests. Indeed, SMO 64’s

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requirement that “Defendants shall disclose to Plaintiffs any change in the status quo

of such agreements, disputes, litigation, mediation, or arbitration; new demands to

defend or indemnify; establishment of any new agreements; or any new dispute,

litigation, mediation, or arbitration, without the need for Plaintiffs to make any

further request” in many ways exceeds the scope of Plaintiffs’ prior negotiated and

Court-approved discovery requests served on Wholesalers in the MDL on the issue

of indemnification. As such, many of the matters encompassed by SMO 64’s

mandate are not subject to supplementation under Fed. R. Civ. P. 26(e), as there were

no prior proper discovery requests to Wholesalers about those matters.

II.   OBJECTION AND REQUEST FOR CLARIFICATION

      Wholesalers now seek clarification regarding the parameters of SMO 64 and

object to the Order to the extent it purports to require the Wholesalers do more than:

(1) meet and confer by April 30, 2022 regarding Plaintiffs’ March 17, 2022 letter;

and (2) supplement information previously provided in discovery in accordance with

the Rules of Civil Procedure.

      Wholesalers formally repeat for the record their objection to SMO 64 for all

of the reasons stated herein and previously communicated to the Court in

Defendants’ counsel’s correspondence of April 14, 2020. See Ex. B. In particular,

Wholesalers object to SMO 64 to the extent it may be read to impose discovery




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obligations—beyond supplementing their prior responses—on the following

grounds:

      1) it requires supplementation of responses to discovery requests that do not

           exist;

      2) it requires responses to discovery requests that were first served after the

           close of discovery, and for which Wholesalers have had no opportunity to

           object to or negotiate with Plaintiffs about;

      3) it requires disclosure or production of information on which there has been

           no meet and confer;

      4) it requires disclosure or production of information that is not relevant to

           the issues in the pending litigation or to settlement -- particularly, but not

           limited to, communications related to defense and indemnification in any

           manner, including disputes and status;

      5) it requires disclosure or production of information that is subject to the

           common interest privilege;

      6) it grants relief that was not discussed at the conference; and

      7) it was entered without giving notice to all parties in interest and without

           providing all parties in interest an opportunity to be heard.

      Accordingly, Wholesalers respectfully request that the Court clarify that SMO

64 only requires: (1) the parties to meet and confer regarding Plaintiffs’ March 17,

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2022 letter; and (2) Wholesalers to timely supplement their prior discovery

responses in accord with the Rules of Civil Procedure; and (3) does not impose any

new duty on Wholesalers to provide information regarding production or disclosure

of defense or indemnification agreements beyond that which was previously

requested by Plaintiffs and approved by the Court in Plaintiffs’ prior discovery

requests.

       To the extent Plaintiffs seek new information from any particular

Wholesaler(s), Wholesalers collectively request that the Court clarify that, absent

agreement of the parties to willingly produce such information following a meet and

confer, Plaintiffs must make an appropriate motion to the Court to seek disclosure

of that information.1 All interested Wholesalers will then be provided notice and an

opportunity to respond to Plaintiffs’ motion, including the opportunity to assert any

objections to the production of the information requested.

    III.    CONCLUSION

            For all of the reasons stated above, Wholesalers respectfully request that

the Court sustain their objections and/or clarify that SMO 64 only requires: (1) the

parties to meet and confer regarding Plaintiffs’ March 17, 2022 letter; and (2)

Wholesalers to timely supplement their prior discovery responses in accord with the



1
 However, Wholesalers reiterate that discovery closed on October 4, 2021. Dkt.
No. 863.
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Rules of Civil Procedure; and (3) does not impose any new duty on Wholesalers to

provide information regarding production or disclosure of defense or

indemnification agreements beyond that which was requested by Plaintiffs and

approved by the Court in Plaintiffs’ prior discovery requests.


Dated: May 5, 2022                 Respectfully Submitted:


                                      By: /s/ Jeffrey D. Geoppinger
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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 5, 2022, a copy of the foregoing document was

served on all counsel of record via CM/ECF.


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